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RICHA BROOKS and . . F tN, ft_raPHlS

.TUNETTE BROOKS,
Plaintiffs,
v. No. 03-2970 l\/ll/An
WALl\/lART STORES, INC.,
HIGHLAND GROUP, TNC. d/b/a
HIGHLAND GROUP INDUSTRI,ES and
JOUBERT S. A., MALAYSIA,

Defendants.

 

CONSENT ORDER OF DlSl\/USSAL WlTl-l PREJUDICE

 

Corne now the parties, by and through their counsel of record, and announce to the Court
that the matters and thin gs in controversy between the parties have been settled and compromised
and that the defendants, WALMART STORES, INC., HIGHLAND GROUP, INC. d/b/a

HIGHLAND GROUP lNDUSTRIES and JOUBERT S. A., MALAYSIA, should be dismissed,

with prejudice

IT IS, THEREFORE, ORDERED, ADJ UDGED AND DECREED that the plaintist
cause be, and the same hereby is, dismissed with prejudice as to the dcfendants, WALMART
4 STORES, lNC., HTGHLAND GROUP, INC. d/b/a HIGHLAND GROUP INDUSTRIES and
\lOUBERT S. A., MALAYSIA, and that the costs ofthis cause shall be, and the same hereby are

adjudged against the defendants, for which let execution issue, if necessary

 

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with Ftute?B and/or TQ(a) FHCF’cn

 

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APPROVED:

LEITNER WILLIAMS, DOOLEY & NAPOL]_TAN, PLLC

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This notice confirms a copy of the document docketed as number 46 in
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Case 2:03-cv-02970-.]PI\/|-STA Document 46 Filed 06/09/05 Page 4 of 4 Page|D 76

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